                    Case 1:12-cr-03182-JB                 Document 1024          Filed 07/30/15               Page 1 of 6
AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                          District of New Mexico

                  UNITED STATES OF AMERICA                             Amended Judgment in a Criminal Case - Reason:
                             V.                                        Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

                     KENNETH ULIBARRI                                  (For Offenses Committed On or After November 1, 1987)
                                                                       Case Number: 1:12CR03182-020JB
                                                                       USM Number: 71581-051
                                                                       Defense Attorney: Douglas Couleur, Appointed
THE DEFENDANT:

☒     pleaded guilty to count(s) 1 and 2 of Amended Information
☐     pleaded nolo contendere to count(s) which was accepted by the court.
☐     after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section                Nature of Offense                                              Offense Ended               Count Number(s)

18 U.S.C. Sec. 1512(c)(2)        Obstruction of Justice                                         05/21/2014                  1


The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count .
☒ Count s 62 & 63 of Indictment are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    July 15, 2015
                                                                    Date of Imposition of Judgment


                                                                    /s/ James O. Browning
                                                                    Signature of Judge


                                                                    Honorable James O. Browning
                                                                    United States District Judge
                                                                    Name and Title of Judge

                                                                    July 30, 2015
                                                                    Date Signed
                    Case 1:12-cr-03182-JB                   Document 1024   Filed 07/30/15    Page 2 of 6

AO 245B (Rev 12/10) Sheet 1 – Judgment in a Criminal Case                                                 Judgment - Page 2 of 6



Defendant: KENNETH ULIBARRI
Case Number: 1:12CR03182-020JB

                                            ADDITIONAL COUNTS OF CONVICTION
Title and Section                Nature of Offense                                   Offense Ended    Count Number(s)

21 U.S.C. Sec.                   Distribution of Heroin                              05/16/2014       2
841(b)(1)(C)
                    Case 1:12-cr-03182-JB             Document 1024             Filed 07/30/15         Page 3 of 6

AO 245B (Rev 12/10) Sheet 2 - Imprisonment                                                                            Judgment - Page 3 of 6



Defendant: KENNETH ULIBARRI
Case Number: 1:12CR03182-020JB

                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 60
months.

A term of 60 months is imposed as to each of Counts 1 and 2; said terms shall run concurrently.

The Court has considered the Guidelines and, in arriving at its sentence, has taken account of the Guidelines with other
sentencing goals. Specifically, the Court has considered the Guidelines’ sentencing range established for the applicable
category of offense committed by the applicable category of Defendant. The Court believes that the Guidelines’ punishment is
appropriate for this sort of offense. Therefore, the sentence in this judgment is consistent with a guideline sentence. The
Court has considered the kind of sentence and range established by the Guidelines. The Court believes that a sentence of 60
months reflects the seriousness of the offense, promotes respect for the law, provides just punishment, affords adequate
deterrence, protects the public, avoids unwarranted sentencing disparities among similarly situated defendants, effectively
provides the Defendant with needed education or vocational training and medical care, and otherwise fully reflects each of the
factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable. The Court believes the
sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing Reform Act.

☒ The court makes the following recommendations to the Bureau of Prisons:

    The Court first recommends FCI Marianna, FL, and secondarily recommends FCI Coleman, FL, if eligible.

The Court recommends the defendant participate in the Bureau of Prisons 500 hour drug and alcohol treatment program.

☒     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐ at on
      ☐ as notified by the United States Marshal.
☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐ before 2 p.m. on
      ☐ as notified by the United States Marshal.
      ☐ as notified by the Probation or Pretrial Services Office.

                                                               RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                              at                                     with a Certified copy of this Judgment.




                                                                                  UNITED STATES MARSHAL

                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHAL
                    Case 1:12-cr-03182-JB              Document 1024             Filed 07/30/15          Page 4 of 6

AO 245B (Rev 12/10) – Sheet 3 – Supervised Release                                                                      Judgment - Page 4 of 6



Defendant: KENNETH ULIBARRI
Case Number: 1:12CR03182-020JB


                                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .

A term of 3 years is imposed as to each of Counts 1 and 2; said terms shall run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

☐ The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
      substance abuse. (Check, if applicable.)
☐    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
☒    The defendant shall cooperate in the collection of DNA as directed by statute. (Check, if applicable).
☐    The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where
      the defendant resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
☐    The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Criminal Monetary Penalties sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION

1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)  the defendant shall support his or her dependents and meet other family responsibilities;
5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
    acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
    controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
    of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
    any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
    officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court;
                    Case 1:12-cr-03182-JB   Document 1024    Filed 07/30/15     Page 5 of 6

AO 245B (Rev 12/10) – Sheet 3                                                              Judgment - Page 5 of 6


Defendant: KENNETH ULIBARRI
Case Number: 1:12CR03182-020JB


                                 SPECIAL CONDITIONS OF SUPERVISION

The defendant must refrain from the use and possession of alcohol and other forms of intoxicants.

The defendant must refrain from the use and possession of synthetic cannabinoids or other legally sold
designer drugs.

The defendant must participate in and successfully complete an outpatient mental health treatment
program approved by the probation officer. The defendant may be required to pay a portion of the cost
of this treatment as determined by the probation officer.

The defendant must have no contact with the co-defendant(s) / co-conspirator(s) in this case without
prior approval of the probation officer.

The defendant must submit to substance abuse testing as directed by the probation officer. The
defendant is prohibited from obstructing, or attempting to obstruct or tamper, in any fashion, with the
collection, efficiency and accuracy of any substance abuse testing device or procedure. The defendant
may be required to pay a portion of the cost of testing as determined by the probation officer.

The defendant must not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.

The defendant must submit to a search of the defendant's person, property, or automobile under the
defendant's control to be conducted in a reasonable manner and at a reasonable time, for the purpose of
detecting illegal drugs, firearms and other illegal contraband at the direction of the probation officer.
The defendant must inform any residents that the premises may be subject to a search.
                     Case 1:12-cr-03182-JB                    Document 1024       Filed 07/30/15          Page 6 of 6

AO 245B (Rev 12/10) Sheet 5, Part A – Criminal Monetary Penalties                                                        Judgment - Page 6 of 6


Defendant: KENNETH ULIBARRI
Case Number: 1:12CR03182-020JB

                                                CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
☐ The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $200.00                           $0.00                            $0.00


                                                        SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A    ☒      In full immediately; or

B    ☐      $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties: Criminal monetary penalties are to be made
payable by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque,
New Mexico 87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case
number and type of payment.

Consistent with a stipulation in the Plea Agreement, the Defendant forfeits his rights, title, and interest in any asset derived
from or used in the commission of the offense charged in this case. Additionally, the Defendant will pay $3,200.00, which
represents the proceeds of the offense charged in Count 2 of the Information.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments,
except those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by
the court, the probation officer, or the United States attorney.
